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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
and BRET CAPPOLA,

                    Plaintiffs,

CAROL A. MICI, in her official capacity as
Commissioner of the Massachusetts Department     C.A. No.
of Corrections,
DOUGLAS DEMOURA, in his official capacity
as Superintendent of MCI-Cedar Junction, and
STEVE SILVA, in his official capacity as
Superintendent of MCI-Norfolk,

                   Defendants.
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                         DECLARATION OF MICHAEL FEINSTEIN
Pursuant to 28 U.S.C. § 1746, I, Michael Feinstein, declare as follows:


1. I am 32 years old and I am currently incarcerated at MCI-Cedar Junction. Prior to my

     incarceration, I lived in Plymouth with my parents.

2. I have been diagnosed with anxiety disorder, depression, attention deficit disorder, and

     opioid use disorder. I also struggle with an addiction to benzodiazepines, alcohol, and

     cocame.

3. To treat my opioid use disorder, my doctors prescribed medication for addiction treatment

     (MAT) with buprenorphine. Before I entered MCI-Cedar Junction, I received 12 mg of

     buprenorphine per day. With the help of my medication, I was able to enter active recovery.

     Buprenorphine gave me my life back. It is the sole reason I am not a funeral card on my

     mother's refrigerator.

4. Once I entered MCI-Cedar Junction, the providers confirmed that I suffered from opioid use

     disorder and that I had been prescribed 12 mg ofbuprenorphine per day to treat my disease.

     Nevertheless, they immediately decreased my dose to 4 mg ofbuprenorphine per day and

     told me that I could remain on my medication for only 90 days.

5. I am terrified that ifI am unable to remain on my medication during my time in a

     Massachusetts Department of Correction facility and if I do not receive my proper dosing, I

     will lose control of my addiction and I will relapse, overdose and die.


Life Before Active Addiction


6.   I had a wonderful childhood.

7. We lived in a great neighborhood, where the neighbors knew each other and spent time

     together.

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8. I also have an amazing family. I was very close with my parents and my brother. Just like

    both of them, I loved playing baseball. I also enjoyed being the class clown.


History ofAddiction


9. I began using opiates when I was sixteen or seventeen years old. I was prescribed opioids for

   pain when my wisdom teeth were removed and quickly became addicted. Once prescription

    opiates became too expensive, I began to buy heroin instead.

10. My parents have always supported me as I worked to overcome my addiction. They took me

   to my first detox at age seventeen. At that time, I thought my addiction was the worst it could

    get. I had no idea what I would go through in the following years.

11. When I was in active addiction, my life was very unstable. I could never hold down a job,

   and I was constantly in trouble with the law. I experienced relapse after relapse.

12. I have been hospitalized for overdose three times, and I have overdosed a few more times

   than that. I have been found face down in the basement, and I have been administered N arcan

   three or four times for overdose. In the winter of 2016, I experienced a near fatal overdose.

   The medics administered multiple doses ofNarcan to keep me alive and I was rushed to the

   hospital.

13. I have tried to enter into active recovery multiple times, but before buprenorphine, nothing

   worked.

14. I tried Vivitrol, but I had terrible side effects and could not stay on the treatment.

15. I also tried methadone, but it was unable to curb my cravings. I was forcibly withdrawn off

   of methadone while I was in prison, which was incredibly long and painful. I can never do

   that again.




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16. I tried straight detox at least a dozen times, but I was never able to retain recovery for more

   than a few months because the cravings were still so strong.


Path to Active Recovery


17. In the spring of 2019, I was sick and tired ofliving with active addiction, and I had a strong

   will to dig myself out of the hole of drug use. So, in April 2019, I went to High Point

   Treatment Center to get treatment for my opioid use disorder. After asking me questions

   about my addiction and treatment history, my provider confirmed my opioid use disorder

   diagnosis and prescribed me 12 mg of buprenorphine per day. This treatment helped me to

   achieve active recovery from my opioid use disorder.

18. Before I got on the proper dose ofbuprenorphine, I was constantly craving opiates and was

   always thinking about getting high. It was nearly impossible to think about anything else.

   After I entered into active recovery on the proper dose of buprenorphine, I could finally focus

   on other aspects oflife. The medication also helped alleviate my depression and anxiety. I

   found myself wanting to live again.

19. Between April and October 2019, I was able to rebuild my relationships with my family, who

   are all very supportive of my recovery. My parents have been married for 33 years and are a

   significant source of stability for me. My brother is my best friend. My active addiction had

   driven a wedge between me and my family, but my active recovery allowed me to reconnect

   with them as their son and brother.

20. Due to my active recovery, I also was able to return to my landscaping and masonry work. I

   liked using my hands, and I was proud to be building something. The work was physically

   taxing, but I was able to do it because I was finally feeling healthy. With the help of my

   buprenorphine treatment, I felt like I was finally able to move towards something positive.

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Current Incarceration


21. Although buprenorphine helped me enter into active recovery from opioid use disorder, I still

   struggled with my addiction to benzodiazepines. In April 2019, I blacked out while using

   benzodiazepines. I awoke in a garage that I mistakenly thought belonged to my house.

22. I accepted responsibility for my actions and pied guilty to unarmed burglary. I was sentenced

   to three to four years in a state facility, and entered MCI-Cedar Junction on October 1, 2019.


Lack ofMaintenance Treatment at Massachusetts Department of Correction Facilities


23. The day after I entered MCI-Cedar Junction, I saw a nurse in the medical unit. I told her that

   my doctor had prescribed 12 mg ofbuprenorphine per day to treat my opioid use disorder.

24. She called the doctor, who told the nurse that I would receive a 4mg dose for a 90-day taper.

   I was shocked and anxious when I learned that I would not be kept on my proper

   maintenance dose ofbuprenorphine, which had enabled me to finally enter active recovery.

25. No one gave me a medical reason for the decrease in my prescribed dose or the 90-day limit.

26. When I was finally able to see Dr. Hameed, she immediately told me that she would not

   answer any questions about Suboxone.

27. I was very worried about the fact that I was on the improper dose of my medication and that I

   would be removed from buprenorphine entirely after 90 days.

28. As a result, I told the doctor that I needed to go back to my proper 12 mg dose. She answered

   that she believed nobody needed to be on a dose of more than 4 mg. I then explained that my

   addiction is not limited to 90 days, so my treatment could not be limited to 90 days either.

   She answered that MCI-Cedar Junction provided buprenorphine for only 90 days at most. I

   told her that I thought I had a legal right to treatment, and she responded that she was not

   "scared to go to court."

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29. As far as I am aware, the medical providers at MCI-Cedar Junction tell all the patients who

   are prescribed buprenorphine for addiction treatment that we can only stay on buprenorphine

   for 90 days at most.

30. Every morning at MCI-Cedar Junction, the patients who take buprenorphine line up in the

   medical unit to receive our medication. We drink water, then take the crushed up tablets

   sublingually. We sit in the auditorium for ten minutes or so while the medication dissolves,

   then we drink water again. A guard then performs a mouth check with a flashlight to make

   sure nothing is left in our mouths.

31. The correctional officers make it difficult for us to receive our medication at MCI-Cedar

   Junction. I have heard officers call our medication line "the crack line." It is hard enough

   seeking access to treatment without this additional stigma and antagonism.

32. The patients at Cedar Junction who are prescribed buprenorphine are segregated into separate

   housing in Block 5. Those ofus who are in Block 5 have little or no access to the programs

   and activities that are available to other prisoners, including drug counseling and prison

   work. At my community provider, I received counseling to complement my buprenorphine

   maintenance treatment, and I would like to participate in counseling during my period of

   incarceration. Access to prison programs and work opportunities is important not only for our

   wellbeing, but also because we can earn up to fifteen days per month of good-time sentence

   reduction credit.

33. I have not been able to get a job throughout my time on Block 5.

34. I have not been able to access drug and alcohol counseling throughout my time on Block 5.

35. I have not been able to have a contact visit with my family members throughout my time on

   Block 5.



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36. Given what I heard from Dr. Hameed and what I have seen happen to other inmates, I have

    not filed any grievances because I am afraid it will make the experience worse. I know that

    people are bullied by the staff if they speak up and I don't want that to happen to me.

3 7. I heard that the providers suddenly stopped giving Andrew Consoli, another prisoner on

    Block 5, his medication for no reason. I heard that, when Andy complained about it, they

    punished him by putting him in the infirmary. The infirmary is a horrible place to be because

    you have to stay in a small, cement room, with a cement bed, and the lights are on all the

   time. It is also very isolated.

38. I am terrified that they will remove me from my buprenorphine treatment entirely if I file a

   grievance and as a result, I have stayed quiet.

39. On 4 mg, I have already felt many symptoms of withdrawal, like anxiety, flu-like symptoms,

   and restless legs.

40. I know that these symptoms will get even worse ifl am removed from my medication

   entirely.

41. I am also very worried about relapsing while I am at a Massachusetts Department of

   Correction facility. If they take me off my medication, my cravings will return. I don't want

   to lose control again and re-enter active addiction. I know that illegal drugs are available in

   prisons. I am worried that, if someone offers me heroin or fentanyl in prison, I will not be

   able to say no. Since it has been so long since I have used opioids, I have no tolerance now.

   Given my relapse history, I am terrified of potentially overdosing either in prison or upon my

   release. That is my biggest fear.

42. I am also worried that, if I choose to purchase buprenorphine on the black market to avoid

   relapse and overdose, I will face DOC discipline for self-medicating.



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43. Just a couple of weeks ago, I heard that someone who was on the buprenorphine program

    with me at Cedar Junction died of opioid overdose soon after being released from prison. I

    have heard that DOC did not give him a proper prescription for buprenorphine when he was

    released. That goes to show that in order to stay alive, we need DOC to provide us with our

    proper medication.

44. I have a lot to look forward to after I am released. The manager of the masonry company I

    was working with before I entered MCI-Cedar Junction said he would be happy to have me

    back when I am released. My nephew was born while I've been held here, and I can't wait to

    meet him after I go home. I want to make sure I can stay alive and maintain my active

   recovery while I am incarcerated so that I can continue my recovery on the outside.

45. I have already lost dozens of friends to the opioid crisis. I don't want to join them and cause

   my family that kind of pain.


I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed on December     I(, 2019



Michael Feinstein




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